Case 6:21-cv-00698-PGB-DCI Document 33 Filed 06/01/21 Page 1 of 13 PageID 300




                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION

 LEGACY ENTERTAINMENT &
 ARTS FOUNDATION, INC. d/b/a
 LAWYERS MATTER TASK FORCE;
 BLACK LIVES MATTER TAMPA,
 LLC; COMMUNITY
 EMPOWERMENT PROJECT, INC.;
 and LEWANNA GELZER,

             Plaintiffs,

 v.

 RONALD DION DESANTIS, in his             Case No. 6:2021-cv-00698-PGB-DCI
 official capacity as Governor of
 Florida; ASHLEY BROOKE
 MOODY, in her official capacity as
 Attorney General of Florida; and
 JOHN WILLIAM MINA, in his
 official capacity as Sheriff of Orange
 County, Florida,

            Defendants.
______________________________________/

             GOVERNOR DESANTIS’ MOTION TO DISMISS
              PLAINTIFFS’ AMENDED COMPLAINT AND
              INCORPORATED MEMORANDUM OF LAW

      At issue in this case is whether Florida’s recently enacted Anti-Riot Law

violates Plaintiffs’ First, Eighth, and Fourteenth Amendment rights under the

U.S. Constitution. Because the Governor is an improper party, Plaintiffs lack

standing, and Plaintiffs fail to state a claim upon which relief can be granted,
Case 6:21-cv-00698-PGB-DCI Document 33 Filed 06/01/21 Page 2 of 13 PageID 301




Governor DeSantis moves to dismiss Plaintiffs’ Amended Complaint pursuant

to Rules 12(b)(1) and 12(b)(6).

                                     INTRODUCTION

       Following a year where demonstrations across the country turned

violent, Florida passed House Bill (CS/HB) 1, also referred to as the Anti-Riot

Law (“Act”), 1to protect against dangerous rioting and looting. Plaintiffs Legacy

Entertainment & Arts Foundation, Inc. d/b/a Lawyers Matter Task Force,

Black Lives Matter Tampa, LLC, Community Empowerment Project, Inc., and

Lewanna Gelzer (collectively, “Plaintiffs”), ask this Court to enjoin

enforcement of the Act based on unfounded, misleading, and conclusory

allegations of Constitutional violations. 2 But the Act does none of the things

Plaintiffs allege. Americans have a Constitutional right to free speech — they

do not have a right to burn down buildings, destroy property, or inflict bodily

harm on others.

       First, Plaintiffs claim the Legislature drafted the Act specifically to

target and prohibit “protests against the murders of minorities at the hands of


1HB 1 is a public record, which is subject to judicial notice. See, e.g., Smith v. Sec’y of Veterans
Affairs, 808 F. App’x 852, 853 (11th Cir. 2020) (“When ruling on a Rule 12(b)(6) motion to
dismiss, the district court is permitted to take judicial notice of public records without
needing to convert the motion into a motion for summary judgment[.]” (citing Bryant v. Avado
Brands, Inc., 187 F.3d 1271, 1276-78 (11th Cir. 1999)).
2 Plaintiffs also filed an “emergency” ex parte Motion for Preliminary Injunction and

Temporary Restraining Order. (Doc. 14). This Court quickly, and properly, denied the motion
because “Plaintiffs’ analysis of the particular constitutional issues presented here is too thin
and conclusory to justify the extraordinary remedy of a TRO.” (Doc. 16, p. 3-4). As discussed
further below, Plaintiffs’ Amended Complaint suffers from the same fatal flaws.

                                                 2
Case 6:21-cv-00698-PGB-DCI Document 33 Filed 06/01/21 Page 3 of 13 PageID 302




police officers.” (Doc. 5, ¶ 26). 3 The Act’s plain text, however, applies equally to

every protest or demonstration where participants choose to incite or enact

violence, damage property, or intimidate others, regardless of why they are

protesting. The Act does not mention the protests themselves, or their

motivations, because under the Act it does not matter who protests, or why,

only that they do so peacefully.

         Second, Plaintiffs allege the Act impermissibly burdens and “chills”

peaceful demonstrations and free expression. (Doc. 5, ¶ 42). Incredibly,

Plaintiffs even claim the Act “intimidat[es] protestors or organizations from

participating in protests,” “discourag[es] any support of peaceful protest,” and

“effectively bar[s] Plaintiffs from exercising their free speech rights because of

the resulting penalty.” (Doc. 5, ¶¶ 1 & 31). None of this is true.

         The Act does not discourage, much less prohibit, any person from

peacefully assembling, demonstrating, or speaking on any issue. The Act does

not even apply to peaceful demonstrations or forms of expression. Rather, it

outlaws people coming together, regardless of their motivation, to commit

violence, damage property, or intimidate others into assuming or abandoning

a viewpoint against their will. Prohibiting violence and destruction does not




3   Docket entries in this proceeding appear as “Doc. __.”

                                                3
Case 6:21-cv-00698-PGB-DCI Document 33 Filed 06/01/21 Page 4 of 13 PageID 303




restrict Constitutionally protected expression – only dangerous, unlawful

behavior.

      Third, Plaintiffs claim they “fear criminal prosecution . . . for organizing

demonstrations” because the Act allegedly threatens peaceful protestors with

civil and criminal liability for exercising their Constitutional rights. (Doc. 5, ¶

64). Here, Plaintiffs continue their conclusory rhetoric without pleading a

scintilla of evidence to support this claim. Again, the Act is clear that its

provisions only prohibit, and thereby attach liability to, persons that engage in

or incite violence, destroy property, or intimidate others. Its provisions

explicitly “do[ ] not prohibit constitutionally protected activity[,] such as a

peaceful protest.” Fla. Stat. § 870.01. Accordingly, persons exercising their

Constitutional rights without also doing these illicit things face no criminal or

civil liability, regardless of their viewpoints. Moreover, the Act does not create

new crimes. Instead, it codifies the common law elements for multiple, existing

offenses and increases penalties for defined crimes to deter violent

demonstrations and protect property.

      Fourth, Plaintiffs insist the Act makes “organizations liable for their

association with, and speech regarding, individuals who may be arrested at a

riot.” (Doc. 5, p. 27). Again, Plaintiffs are clearly wrong. Nowhere does the Act

discuss – much less impose – any form of vicarious or organizational liability,

and certainly not for simply associating with persons “arrested at a riot.” Id.

                                        4
Case 6:21-cv-00698-PGB-DCI Document 33 Filed 06/01/21 Page 5 of 13 PageID 304




Indeed, the Act only refers to “organizations” in order to strike unrelated

permitting requirements for 501(c)(3) organizations.

      Fifth, Plaintiffs argue the Act immunizes counter-protestors that “drive

into peaceful demonstrators if such demonstration blocks a road.” (Doc. 5, ¶

33). This claim is inflammatory and demonstrably false. Nothing in the Act

allows people to drive into demonstrators, nor does it provide blanket criminal

or civil immunity to anyone. Rather, it creates an affirmative defense for

defendants sued for damages sustained while the plaintiff incited or

participated in a riot. Drivers confronted by an angry mob need not sit idly by

while the rioters obstruct traffic, damage their vehicle, threaten their safety,

or worse. This provision allows those caught in violent or life-threatening

situations to protect themselves and their property – not to attack protestors

with impunity.

      Finally, Plaintiffs allege the Act imposes “cruel and unusual”

punishment by “depriving a presumably innocent citizen of the right to

assemble, the right to timely bail, and a right to punishment that has not been

arbitrarily enhanced,” and by “imposing unconstitutional financial penalties

on persons without . . . due process of law” (Doc. 5, ¶¶ 59, 67). Again, Plaintiffs

are clearly wrong.

      The Act does none of those things. It imposes no financial penalties. It

simply amends and increases existing penalties for instigating or participating

                                        5
Case 6:21-cv-00698-PGB-DCI Document 33 Filed 06/01/21 Page 6 of 13 PageID 305




in a riot or other violent demonstration. Likewise, delaying bail until after the

accused appears before a judge cannot credibly be confused with cruel and

unusual punishment.

       Nonetheless, despite the Act’s plain language and clear Constitutional

protections, Plaintiffs filed this action alleging it is unconstitutional on its face

and as applied to their “planned protests” 4 because it violates the First, Eighth,

and Fourteenth Amendments to the U.S. Constitution.

       This Court, however, does not have subject matter jurisdiction over the

claims against Governor DeSantis because he is not a proper party. Likewise,

Plaintiffs do not have standing to bring the action. But even if the Court had

jurisdiction, and even accepting their baseless allegations as true, Plaintiffs

still fail to state a claim upon which relief can be granted. Accordingly, this

Court should dismiss the Amended Complaint.

                               LEGAL STANDARDS

       Federal Rule of Civil Procedure 12(b)(1) requires federal courts to

dismiss a complaint if it does not establish “a basis of subject matter

jurisdiction.” Menchaca v. Chrysler Credit Corp., 613 F.2d 507, 511 (5th Cir.

1980). 5 Further, to withstand a motion to dismiss under Rule 12(b)(6), “a



4 Governor DeSantis notes that Plaintiffs’ protest on May 15, 2021 – the source of their as-
applied challenge – took place without incident.
5 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981), the Eleventh Circuit

adopted all decisions of the Fifth Circuit decided before September 31, 1981.

                                             6
Case 6:21-cv-00698-PGB-DCI Document 33 Filed 06/01/21 Page 7 of 13 PageID 306




complaint must include ‘enough facts to state a claim to relief that is plausible

on its face.’ ” Hunt v. Aimco Props., L.P., 814 F.3d 1213, 1221 (11th Cir. 2016)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has

facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing

Twombly, 550 U.S. at 556). Although the Court must accept well-pleaded facts

as true and construe them in the light most favorable to Plaintiffs, “a plaintiff’s

obligation to provide ‘the grounds’ of his ‘entitle[ment] to relief’ requires more

than mere labels or conclusions, and a formulaic recitation of the elements of

a cause of action will not do . . . .” Twombly, 550 U.S. at 555. Pleadings that

are “no more than conclusions[] are not entitled to the assumption of truth.”

Iqbal, 556 U.S. at 679.

                                 ARGUMENT

      Plaintiffs bring this pre-enforcement challenge to HB 1 against Governor

DeSantis in his official capacity and ask this Court to enjoin him from enforcing

the Act. This Court, however, must dismiss Plaintiffs’ claims because (1)

Governor DeSantis is not a proper party, (2) Plaintiffs do not have standing,

and (3) Plaintiffs’ claims fail to state a claim upon which relief can be granted.




                                        7
Case 6:21-cv-00698-PGB-DCI Document 33 Filed 06/01/21 Page 8 of 13 PageID 307




 I.      THIS COURT LACKS SUBJECT MATTER JURISDICTION
         BECAUSE GOVERNOR DESANTIS IS NOT A PROPER
         PARTY.

      Under the Eleventh Amendment, “a state may not be sued in federal

court unless it waives its sovereign immunity or its immunity is abrogated by

an act of Congress under section 5 of the Fourteenth Amendment.” Osterback

v. Scott, 782 F. App’x 856, 858 (11th Cir. 2019) (quoting Grizzle v. Kemp, 634

F.3d 1314, 1319 (11th Cir. 2011)) (internal quotation marks omitted). Neither

has occurred. The State of Florida has not waived its sovereign immunity, see

Gamble v. Fla. Dep’t of Health & Rehab. Servs., 779 F.2d 1509, 1513-20 (11th

Cir. 1986), and Congress has not abrogated state sovereign immunity. See Qill.

V. Mich. Dep’t of State Police, 491 U.S. 58, 68-71 (1989). Plaintiffs fail to allege

otherwise.

      Further, although Ex parte Young, 209 U.S. 123 (1908), provides a

narrow exception to state sovereign immunity for suits “alleging a violation of

the federal constitution against a state official in his official capacity for

injunctive relief on a prospective basis,” Osterback, 782 F. App’x at 858

(quoting Grizzle, 634 F.3d at 1319), Plaintiffs may not simply “challenge a state

law by choosing whichever state official appears most convenient and haling

them into federal court.” Support Working Animals, Inc. v. DeSantis, 457 F.

Supp. 3d 1193, 1208 (N.D. Fla. 2020). Instead, litigants must bring their claims

“against the state official or agency responsible for enforcing the allegedly

                                         8
Case 6:21-cv-00698-PGB-DCI Document 33 Filed 06/01/21 Page 9 of 13 PageID 308




unconstitutional scheme.” Osterback, 782 F. App’x at 858-59 (internal

quotation marks omitted) (quoting ACLU v. Fla. Bar, 999 F.2d 1486, 1490

(11th Cir. 1993)); see also Socialist Workers Party v. Leahy, 145 F.3d 1240, 1248

(11th Cir. 1998) (“[W]here the plaintiff seeks a declaration of the

unconstitutionality of a state statute and an injunction against its

enforcement, a state officer, in order to be an appropriate defendant, must, at

a minimum, have some connection with enforcement of the provision at issue.”)

This is because “[w]here the named defendant lacks any responsibility to

enforce the statute at issue, the state is, in fact, the real party in interest, and

the suit remains prohibited by the Eleventh Amendment.” Osterback, 782 F.

App’x at 858-59 (internal quotation marks omitted) (quoting Summit Med.

Assocs., P.C. v. Pryor, 180 F.3d 1326, 1341 (11th Cir. 1999)).

      Accordingly, “[u]nless the state officer has some responsibility to enforce

the statute or provision at issue, the ‘fiction’ of Ex parte Young cannot operate.”

Support Working Animals, 457 F. Supp. 3d at 1208 (internal quotation marks

omitted) (quoting Summit Med. Assocs., 180 F.3d at 1341); see also Curling v.

Sec'y of Georgia, 761 F. App’x 927, 932 n.3 (11th Cir. 2019) (holding that

defendants must directly enforce or administer the challenged state statute for

the Ex parte Young “legal fiction” to apply).

      Governor DeSantis’ status and authority as Governor of Florida do not,

as a matter of law, make him a proper party to this case. Plaintiffs note

                                         9
Case 6:21-cv-00698-PGB-DCI Document 33 Filed 06/01/21 Page 10 of 13 PageID 309




 generally that Governor DeSantis, pursuant to Fla. Stat. § 14.01, et seq., “is

 responsible under Florida law for ensuring ‘the laws be faithfully executed’ and

 has the ‘authority to protect life, liberty, and property.’ ” (Doc. 5, ¶ 11). That is

 not enough.

       The Eleventh Circuit has made clear that the Governor’s general

 executive authority to enforce state laws and oversee the executive branch,

 standing alone, “is insufficient to make him the proper party whenever a

 plaintiff seeks to challenge the constitutionality of a law.” Harris v. Bush, 106

 F. Supp. 2d 1272, 1276 (N.D. Fla. 2000) (collecting multiple cases supporting

 this principle); see also Women's Emergency Network v. Bush, 323 F.3d 937,

 949 (11th Cir. 2003) (“A governor's ‘general executive power’ is not a basis for

 jurisdiction in most circumstances.”); Osterback, 782 F. App’x at 859 (“[T]he

 Governor's constitutional and statutory authority to enforce the law and

 oversee the executive branch do not make him a proper defendant under Ex

 Parte Young.”) Similarly, the Governor’s enactment authority, by itself, does

 not subject him to this Court’s jurisdiction because “[u]nder the doctrine of

 absolute legislative immunity, a governor cannot be sued for signing a bill into

 law.” Women's Emergency Network, 323 F.3d at 950 (citing Supreme Ct. of Va.

 v. Consumers Union of United States, Inc., 446 U.S. 719, 731–34 (1980)).

 Otherwise, the Governor would be a proper defendant in any challenge to a

 state statute. Women's Emergency Network, 323 F.3d at 949 (citing Harris, 106

                                          10
Case 6:21-cv-00698-PGB-DCI Document 33 Filed 06/01/21 Page 11 of 13 PageID 310




 F. Supp. 2d at 1277) (“If a governor's general executive power provided a

 sufficient connection to a state law to permit jurisdiction over him, any state

 statute could be challenged simply by naming the governor as a defendant.”).

       Because neither the Act’s text nor his general executive authority

 “sufficiently connect[s] him with the . . . enforcement” of its provisions to “make

 him a proper party,” Ex parte Young, 209 U.S. at 161, Governor DeSantis does

 not fall under the Ex parte Young exception and is therefore immune from suit

 under the Eleventh Amendment. Accordingly, the claims against him should

 be dismissed.

 II.      PLAINTIFFS DO NOT HAVE STANDING

       Governor DeSantis adopts and incorporates Attorney General Moody’s

 arguments on Plaintiffs’ standing as set forth in her Motion to Dismiss and

 Incorporated Memorandum of Law.

III.      THE AMENDED COMPLAINT FAILS TO STATE A CLAIM
          UPON WHICH RELIEF CAN BE GRANTED

       Governor DeSantis adopts and incorporates Attorney General Moody’s

 arguments on the merits of Plaintiffs’ claims as set forth in her Motion to

 Dismiss and Incorporated Memorandum of Law.




                                         11
Case 6:21-cv-00698-PGB-DCI Document 33 Filed 06/01/21 Page 12 of 13 PageID 311




                                  CONCLUSION

       For the foregoing reasons, the Court should dismiss the Amended

 Complaint because (1) Governor DeSantis is not a proper party, (2) Plaintiffs

 do not have standing to bring their claims, and (3) Plaintiffs’ claims fail to state

 a claim upon which relief can be granted.


                                 Respectfully submitted this 1st of June, 2021.

                                 RON DESANTIS
                                 GOVERNOR

                                 /s/ Nicholas J.P. Meros
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                                         12
Case 6:21-cv-00698-PGB-DCI Document 33 Filed 06/01/21 Page 13 of 13 PageID 312




                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was

 served via the Court’s CM/ECF system, which provides notice to all parties, on

 this 1st day of June, 2021.

                                     /s/ Nicholas J.P. Meros
                                     NICHOLAS J.P. MEROS
                                     Deputy General Counsel




                                      13
